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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 In Re:


 MANA P. SEM,                                         Case No. 1:17-bk-26183

                                 Debtor(s)
                                                      Chapter 13
 MANA P. SEM,

                                  Plaintiffs          Honorable Janet S. Baer

 v.
                                                      Adversary No. 1:22-ap-00003
 VW CREDIT, INC. d/b/a               AUDI
 FINANCIAL SERVICES,

                                 Defendant

                          NOTICE OF VOLUNTARY DISMISSAL

          NOTICE IS HEREBY GIVEN that pursuant to Fed. R. Civ. P. 41(a), Plaintiff, MANA

P. SEM, voluntarily dismisses Defendant, VW CREDIT, INC. d/b/a AUDI FINANCIAL

SERVICES, with prejudice from this action with each party to bear their own attorney’s fees and

costs. This notice of dismissal is being filed with the Court before service by Defendant of either

an answer or a motion for summary judgment.

 DATED: March 18, 2022                            Respectfully submitted,

                                                  MANA P. SEM

                                                  By: /s/ Joseph S. Davidson

                                                  Joseph S. Davidson
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